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IN THE UNITED sTATEs DISTRICT coURT “' 05 ila
FoR THE WESTERN DIsTRIcT oF TENNESSEE USF-;r,.';;-'hé. l
wEsTER.N DIvIsroN ‘F*H 3-' 33

 

MARISSA MILLER, A Mincr, By
and Through Her Mbther and
Next Friend, MIRANDA MILLER,

 

Plaintiffs,
No. 03-2701 Ml/V
JOHN DACUS, M.D.,

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)
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v. )
)
)
)
Defendant. )

)

 

ORDER DENYING PLAINTIFF’S MOTION FOR A NEW TRIAL

 

Before the Court is Plaintiff's Motion for a New Trial and
Memorandum in Support, filed April 21, 2005. Defendant responded
in opposition on May 2, 2005. For the following reasons,
Plaintiff's motion is DENIED.

Federal Rule of Civil Procednre 59 allows a party to move
for a new trial “for any of the reasons for which new trials have
heretofore been granted in actions at law in the courts of the
United States ....” Fed. R. Civ. P. 59. The authority to grant
a new trial under Rule 59 rests within the discretion of the
trial court. Allied Chemical Corn. v. Daiflon, Inc., 449 U.S.
33, 36 (1980); Montgomerv Ward & Co. v. Duncan, 3ll U.S. 243, 251

(1940).

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w.m sues 53 and/or 29{3) FRCP cm._$:LL-E§__

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Additionally, Federal Rule of Civil Procedure 61 provides:
No error in either the admission or the exclusion of
evidence and no error or defect in any ruling or order
or in anything done or omitted by the court or by any
of the parties is ground for granting a new trial or
for setting aside a verdict or for vacating, modifying,
or otherwise disturbing a judgment or order, unless
refusal to take such action appears to the court
inconsistent with substantial justice. The court at
every stage of the proceeding must disregard any error
or defect in the proceeding which does not affect the
substantial rights of the parties.
Fed. R. Civ. P. 61. Further, “[e]ven if a mistake has been made
regarding the admission or exclusion of evidence, a new trial
will not be granted unless the evidence would have caused a
different outcome at trial.” Morales v. American Honda Motor Co.,
Inc., 151 F.Bd 500, 514 (6th Cir. l998)(citations omitted).
Plaintiff contends that a new trial is warranted because the
Court purportedly committed thirteen separate instances of
reversible error during the trial. Having reviewed the entire
record and the parties’ submissions, the Court finds that none of
the alleged errors pointed to by Plaintiff were inconsistent with
substantial justice or affected the substantial rights of the
parties. Moreover, the Court finds that, had it come to the
opposite conclusion regarding the allegedly erroneous admission
or exclusion of evidence pointed to by Plaintiff, the admission
or exclusion of that evidence would not have caused a different

outcome at trial. Accordingly, Plaintiff's motion for a new

trial is DENIED.

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.,,a-*

SO ORDERED this \`> day of May, 2005.

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J N P. MCCALLA
U ITED STATES DISTRICT JUDGE

   

UNl)lTE sTAETs DlsRTlC COURT - WESTERN llsRCT oF TENNESSEE

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This notice confirms a copy of the document docketed as number 311 in
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